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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MARK MEADOWS,

                                 Plaintiff,

                 v.                                                 No. 1:21-cv-03217 (CJN)

 NANCY PELOSI, et al.,

                                 Defendants.


         DEFENDANTS’ MOTION FOR AN EXPEDITED BRIEFING SCHEDULE

         Pursuant to Local Civil Rule 7(b), Defendants the Honorable Nancy Pelosi, the

Honorable Bennie G. Thompson, the Honorable Elizabeth L. Cheney, the Honorable Adam B.

Schiff, the Honorable Jamie B. Raskin, the Honorable Susan E. Lofgren, the Honorable Elaine

G. Luria, the Honorable Peter R. Aguilar, the Honorable Stephanie Murphy, the Honorable

Adam D. Kinzinger, and the United States House Select Committee to Investigate the January

6th Attack on the United States Capitol, by and through their counsel, respectfully request entry

of an expedited briefing schedule on their Motion for Summary Judgment.

         Plaintiff filed his initial Complaint, ECF No. 1, on December 8, 2021, and filed an

Amended Complaint, ECF No. 13, on April 1, 2022. On April 22, 2022, Defendants filed their

motion for summary judgment. ECF No. 15. Currently, under Local Civil Rule 7(b), Plaintiff’s

opposition would be due on May 6, 2022. Defendants propose that this case is appropriate for

resolution via cross-motions for summary judgment and also to expedite briefing as set out

below.

         Federal courts “shall expedite the consideration of any action . . . if good cause therefor is

shown.” 28 U.S.C. § 1657(a). As discussed more fully in Defendants’ Motion for Summary
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Judgment, the Select Committee served Plaintiff with a subpoena for documents and deposition

testimony relating to the efforts to challenge the results of the 2020 Presidential election, rallies

that occurred in Washington, D.C. leading up to the January 6 rally, and the violent attack on the

Capitol that followed. Plaintiff’s refusal to comply with this subpoena is impeding Congress’s

ability to carry out its constitutional functions, including the ability to legislate.

        Time is of the essence in rectifying Plaintiff’s refusal to comply with the Select

Committee’s subpoenas. The House of Representatives is not a continuing body. See Eastland

v. U.S. Servicemen’s Fund, 421 U.S. 491, 521 (1975). The current Congress will end on January

3, 2023—just over eight months from now. Prompt resolution of this case is required for the

Select Committee to have enough time to investigate fully the matters addressed by the

subpoenas and to propose—and for Congress to pass—any legislation that it may deem

appropriate in response.

        Defendants believe that the proposed briefing schedule will ensure an efficient and

prompt resolution of this matter, while providing all parties adequate time to brief the relevant

issues. Defendants therefore respectfully request that the Court enter an order adopting the

following briefing schedule:

         Plaintiff’s Combined Opposition and Cross-                May 10, 2022
         Motion for Summary Judgment

         Defendants’ Combined Opposition to                        May 20, 2022
         Plaintiff’s Cross-Motion and Reply

         Plaintiff’s Reply                                        May 31, 2022



        Defendants also request oral argument on these cross-motions be held at the earliest

possible date the Court is available following conclusion of the briefing.




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       Undersigned counsel has conferred with Plaintiff’s counsel with respect to the relief

requested herein. Plaintiff’s counsel has advised that Plaintiff opposes the relief sought herein.



                                              Respectfully submitted,

                                              /s/ Douglas N. Letter
                                              Douglas N. Letter
                                                General Counsel
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                                              U.S. HOUSE OF REPRESENTATIVES
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                                              Counsel for Defendants
April 27, 2022




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 27, 2022, I caused the foregoing document to be filed via

the CM/ECF system for the U.S. District Court for the District of Columbia, which I understand

caused a copy to be served on all registered parties.



                                                        /s/ Douglas N. Letter
                                                        Douglas N. Letter
